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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                  CHARLESTON DIVISION


KEVIN JEMERSON,

                              Petitioner,

v.                                                   CIVIL ACTION NO. 2:05-cv-00300
                                                     (Criminal No. 2:01-cr-00060-13)

UNITED STATES OF AMERICA,

                              Respondent.



                         MEMORANDUM OPINION AND ORDER


       Pending before the court is the petitioner’s motion under 18 U.S.C. § 3582(c)(2) for

modification of sentence [Docket 712]. This action was referred to the Honorable Mary E. Stanley,

United States Magistrate Judge, for submission to this court of proposed findings of fact and

recommendation for disposition, pursuant to 28 U.S.C. § 636(b)(1)(B). The Magistrate Judge has

submitted findings of fact and recommended that the court: 1) find that the petitioner does not meet

the criteria under 18 U.S.C. § 3582(c) for modification of sentence; 2) deny the petitioner’s motion

for modification of sentence; and 3) deny the petitioner’s motion to expedite decision.

       Neither party has filed objections to the Magistrate Judge’s findings and recommendation.

       Accordingly, the court ADOPTS and incorporates herein the findings and recommendation

of the Magistrate Judge. The court FINDS that the petitioner does not meet the criteria under 18

U.S.C. § 3582(c) for modification of sentence. Accordingly, the court DENIES the petitioner’s
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motion for modification of sentence [Docket 712], and DENIES the petitioner’s motion to expedite

decision [Docket 721].

       The court DIRECTS the Clerk to send a certified copy of this Order to Magistrate Judge

Stanley, counsel of record, and any unrepresented party.


                                            ENTER:         October 3, 2005




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